
551 S.E.2d 116 (2001)
353 N.C. 731
STATE of North Carolina
v.
Bruce Jerome HOLMES.
No. 282P01.
Supreme Court of North Carolina.
July 19, 2001.
Bruce Jerome Holmes, Pro Se.
Jeffrey C. Sugg, Associate Attorney General, Horace M. Kimel, Jr., District Attorney, for State.

ORDER
Upon consideration of the petition filed by Defendant Pro Se in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 19th day of July 2001."
